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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                             )
In re:                                                       )    Chapter 11
                                                             )
ENERGY FUTURE HOLDINGS CORP., et al.,1                       )    Case No. 14-10979 (CSS)
                                                             )
                          Debtors.                           )    (Jointly Administered)
                                                             )
                                                             )    Hearing Date: July 18, 2014 at 9:30 a.m.
                                                             )    Objection Deadline: July 11, 2014 at 4:00 p.m.

         NOTICE OF “MOTION OF ENERGY FUTURE HOLDINGS CORP., ET AL.,
           FOR ENTRY OF AN ORDER ENLARGING THE PERIOD WITHIN
             WHICH THE DEBTORS MAY REMOVE CERTAIN ACTIONS”

         PLEASE TAKE NOTICE that, on June 27, 2014, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the attached Motion of Energy Future

Holdings Corp., et al., for Entry of an Order Enlarging the Period Within Which the

Debtors May Remove Certain Actions (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd

Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned proposed

co-counsel for the Debtors on or before July 11, 2014 at 4:00 p.m. (Eastern Daylight Time).

         PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and

received and such objection is not otherwise timely resolved, a hearing to consider such

objection and the Motion will be held before The Honorable Christopher S. Sontchi at the

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           The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location
of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in
these chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ proposed claims and noticing agent at http://www.efhcaseinfo.com.



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Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware

19801 on July 18, 2014 at 9:30 a.m. (Eastern Daylight Time).

        IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND

RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.




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Dated: June 27, 2014                /s/ Tyler D. Semmelman
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                                    Proposed Co-Counsel to the Debtors and Debtors in Possession




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